        Case 3:19-cv-00410-EMC Document 389-1 Filed 03/31/22 Page 1 of 3



     COOLEY LLP                                     DUSTIN M. KNIGHT (pro hac vice)
 1   HEIDI L. KEEFE (178960)                        (dknight@cooley.com)
     (hkeefe@cooley.com)                            11951 Freedom Drive, 16th Floor
 2   REUBEN H. CHEN (228725)                        Reston, VA 20190
     (rchen@cooley.com)                             Telephone: (703) 456-8000
 3   DANIEL J. KNAUSS (267414)                      Facsimile: (703) 456-8100
     (dknauss@cooley.com)
 4   ALEXANDRA LEEPER (307310)                      GREENBERG TRAURIG, LLP
     (aleeper@cooley.com)                           KYLE D. CHEN (SBN 239501)
 5   DEEPA KANNAPPAN (313573)                       kchen@gtlaw.com
     (dkannappan@cooley.com)                        1900 University, Avenue, 5th Floor
 6   3175 Hanover Street                            East Palo Alto, CA 94304
     Palo Alto, CA 94304-1130                       Telephone: (650) 289-7887
 7   Telephone: (650) 843-5000                      Facsimile: (650) 328-8508
     Facsimile: (650) 849-7400
 8

 9   Attorneys for Defendant and Counter-claimant
     COOLIT SYSTEMS, INC. and Defendants
10   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.
11

12

13                               UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                   SAN FRANCISCO DIVISION

16

17   ASETEK DANMARK A/S,                            Case No. 3:19-cv-00410-EMC

18                    Plaintiff and                 DECLARATION OF REUBEN H. CHEN IN
                      Counter-defendant,            SUPPORT OF DEFENDANTS’ NOTICE OF
19                                                  MOTION AND MOTION TO STRIKE EXHIBIT
            v.                                      275
20
     COOLIT SYSTEMS, INC.,
21
                      Defendant and
22                    Counter-claimant,

23   CORSAIR GAMING, INC. and CORSAIR
     MEMORY, INC.,
24
                       Defendants.
25

26

27

28
                                                                  R. CHEN DECL ISO DEFS’ NOTICE OF MOT. AND
                                                                                  MOT. TO STRIKE EXHIBIT 275
                                                                                 CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 389-1 Filed 03/31/22 Page 2 of 3




 1           I, Reuben H. Chen, do hereby declare as follows:

 2           1.     I am an attorney licensed to practice before this Court and all courts of the State of

 3   California, and am a partner with Cooley LLP, counsel for Defendant and Counter-claimant CoolIT

 4   Systems, Inc. (“CoolIT”), Defendant Corsair Gaming, Inc., and Defendant Corsair Memory, Inc.

 5   (collectively, “Defendants”) in the above-entitled action. I submit this declaration in support of

 6   Defendants’ Notice of Motion and Motion to Strike Exhibit 275. The matters stated herein are based

 7   upon my personal knowledge, and if called as a witness, I would testify as to the following statements.

 8           2.     Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report of Dr.

 9   David B. Tuckerman Regarding Invalidity of U.S. Patent Nos. 8,746,330; 9,603,284; and 10,274,266,

10   served on November 3, 2021.

11           3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the deposition

12   transcript of Dr. David Tuckerman, conducted December 20, 2021. Relevant portions of the deposition

13   transcript have been highlighted for the convenience of the Court.

14           3.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the deposition

15   transcript of Dr. David Tuckerman, conducted March 18, 2021. Relevant portions of the deposition

16   transcript have been highlighted for the convenience of the Court.

17           3.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Expert

18   Report of Himanshu Pokharna, Ph.D. In Response to Dr. Tuckerman’s Report on Invalidity of U.S.

19   Patent Nos. 8,746,330; 9,603,284; and 10,274, 266, served on December 8, 2021.

20           3.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts of the deposition

21   transcript of Dr. David Tuckerman, conducted December 22, 2021. Relevant portions of the

22   deposition transcript have been highlighted for the convenience of the Court.

23           4.     Attached hereto as Exhibit 6 is a true and correct copy of CoolIT’s Second Set of

24   Requests For Production of Documents and Things to Asetek (Nos. 99-109), dated September 20,

25   2019.

26           5.     Attached hereto as Exhibit 7 is a true and correct copy of Asetek’s Objections and

27   Responses to CoolIT’s Second Set of Requests For Production of Documents and Things to Asetek

28                                                     -1-
                                                                          R. CHEN DECL ISO DEFS’ NOTICE OF MOT. AND
                                                                                          MOT. TO STRIKE EXHIBIT 275
                                                                                         CASE NO. 3:19-CV-00410-EMC
        Case 3:19-cv-00410-EMC Document 389-1 Filed 03/31/22 Page 3 of 3



 1   (Nos. 99-109).

 2          6.        Attached hereto as Exhibit 8 is a true and correct copy of the Materials Considered

 3   list from the Expert Report of Dr. David B. Tuckerman Regarding Invalidity of U.S. Patent Nos.

 4   8,746,330; 9,603,284; and 10,274,266, served on November 3, 2021.

 5

 6          I declare under penalty of perjury under the laws of the United States that the foregoing is true

 7   and correct to the best of my knowledge.

 8          EXECUTED at Sunnyvale, California on this 31st day of March, 2022.

 9

10                                                   /s/ Reuben H. Chen
                                                     Reuben H. Chen
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                        -2-
                                                                          R. CHEN DECL ISO DEFS’ NOTICE OF MOT. AND
                                                                                          MOT. TO STRIKE EXHIBIT 275
                                                                                         CASE NO. 3:19-CV-00410-EMC
